              Case: 1:22-cr-00028-MRB Doc #: 50 Filed: 02/07/25 Page: 1 of 7 PAGEID #: 280

AO 245B (Rev 09/19)   Judgmentin a Criminal Case
                      Sheet 1


                                        UNITED STATES DISTRICT COURT
                                                         Southern District of Ohio

             UNITEDSTATESOFAMERICA                                             JUDGMENTIN A CRIMINALCASE
                                 V.

                                                                               CaseNumber: 1:22cr00028(2)
                       Diamond Bezada
                                                                               USM Number: 46672-510

                                                                                Edward C. Perry, Esq.
                                                                               Defendant'sAttorney
THE DEFENDANT:
Stpleadedguiltyto count(s)            1 of Indictment
D pleaded nolo contendere to count(s)
  whichwas acceptedby the court.
D wasfoundguilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty ofthese offenses:

Title & Section                 Nature of Offense                                                     Offense Ended              'ount
                                                                                                                                 .




18U. S. C. 1344and               Conspiracy to Commit Bank Fraud                                       9/1/2019                      1


1349



       The defendant is sentenced as provided in pages 2 through                      ofthisjudgment. The sentence is imposed pursuant to
the SentencingReformAct of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                              D is    D are dismissed on the motion of the United States.




                                                                                                      2/6/2025
                                                                      DateofImpositionofJudgment




                                                                       ignatureofJudge




                                                                                  Michael R. Barrett, United States District Judge
                                                                      Name and Title of Judge


                                                                                                     -^^^
                                                                      Date
                  Case: 1:22-cr-00028-MRB Doc #: 50 Filed: 02/07/25 Page: 2 of 7 PAGEID #: 281

AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment
                                                                                                  Judgment-Page 2       of
 DEFENDANT:             Diamond Bezada
 CASENUMBER: 1:22cr00028(2)

                                                          IMPRISONMENT

          Thedefendant ishereby committed tothecustody oftheFederalBureauofPrisonsto beimprisoned for a
 total term of:

 Count 1: One (1) year and a day BOP Custody.




      D Thecourtmakesthefollowingrecommendationsto theBureauofPrisons:




      D The defendant is remanded to the custody ofthe United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
           D at                                  D a.m.     D p.m.        on
           D as notified by the United States Marshal.

      D The defendant shall surrender for service ofsentence atthe institution designated by the Bureau ofPrisons:
           D before 2 p.m. on

           D as notified by the United States Marshal.
           D asnotifiedbytheProbationorPretrialServicesOffice.


                                                                RETURN

 I have executedthisjudgment as follows:




           Defendantdelivered on                                                        to


 at                                               , with a certifiedcopy ofthisjudgment.


                                                                                                UNITED STATES MARSHAL



                                                                       By
                                                                                             DEPUTY UNITED STATES MARSHAL
               Case: 1:22-cr-00028-MRB Doc #: 50 Filed: 02/07/25 Page: 3 of 7 PAGEID #: 282

AO 245B (Rev. 09/19) Judgment in a Criminal Case
                     Sheet3 - SupervisedRelease
                                                                                                         Judgment-Page      of
DEFENDANT:             Diamond Bezada
CASE NUMBER: 1:22cr00028 (2)
                                                        SUPERVISEDRELEASE

Uponreleasefromimprisonment,youwillbeonsupervisedreleasefora termof:

 Count 1: Five (5) years supervised release with conditions.




                                                    MANDATORYCONDITIONS
1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3. Youmust refrain from anyunlawful useofa controlled substance. You mustsubmitto onedrugtestwithin 15daysofrelease from
      imprisonment and at leasttwo periodic drug tests thereafter, asdetermined bythe court.
             0 Theabovedrugtestingconditionis suspended,basedonthe court'sdeterminationthatyou
                  pose a low risk of future substance abuse, (checkifapplicable)
4.      Ef You must make restitution in accordance with 1 8 U. S.C. §§ 3663 and 3663A or anyother statute authorizing a sentence of
           restitution, (checkif applicable)
5.      @fYou must cooperate in the collection ofDNA asdirected by the probation officer. (checkifapplicable)
6.      D You must comply withthe requirements ofthe SexOffender Registration andNotification Act (34 U. S.C. § 20901, et seq.) as
          directed bythe probation officer, the Bureau ofPrisons, or any state sexoffender registration agency inthe location where you
           reside, work, are a student, or were convicted of a qualifying offense. (checkifapplicable)
7.      D Youmustparticipatein anapprovedprogramfordomesticviolence, (checkifapplicable)

Youmustcomplywiththestandardconditionsthathavebeenadoptedbythiscourtaswellaswithanyotherconditionsontheattached
page.
            Case: 1:22-cr-00028-MRB Doc #: 50 Filed: 02/07/25 Page: 4 of 7 PAGEID #: 283

A0245B(Rev. 09/19)   Judgment in a Criminal Case
                     Sheet3A - SupervisedRelease
                                                                                           Judgment-Page                     of
DEFENDANT: Diamond Bezada
CASE NUMBER: 1:22cr00028 (2)

                                      STANDARDCONDITIONSOF SUPERVISION
As part ofyour supervised release, you must comply withthefollowing standard conditions ofsupervision. These conditions are imposed
becausethey establishthebasicexpectations foryourbehaviorwhileonsupervision andidentifytheminimum tools neededbyprobation
officers to keep informed, report to the court about, andbring about improvements in your conduct and condition.
1. Youmustreport totheprobation officeinthefederaljudicialdistrictwhereyouareauthorizedto residewithin72hoursofyour
   release from"imprisonment, unless theprobation officerinstructs youto reportto a different probation officeorwithina differenttime
2. After initially reporting to the probation office, you will receive instructions from the court orthe probation officer about how and
   whenyoumustreporttotheprobationofficer,andyoumustreporttotheprobationofficerasinstmcted.
3. Youmustnot knowingly leavethefederaljudicial districtwhereyou areauthorizedto residewithout first gettingpermission fromthe
     court or the probationofficer.
4.   Youmust answertruthfully thequestionsaskedbyyourprobationofficer.
5. Youmust live ata placeapprovedbytheprobation officer. Ifyouplanto changewhereyou liveor anything aboutyourliving
                                                                                                 least 10 days before the change. If notifyi ng
     an-angements (such as the people you live with), you must notify the probation officer at
     the probation officer in advance is not possible dueto unanticipated circumstances, you must notify the probation officer within 72
     hours ofbecoming aware of a change or expected change.
6. Youmust allowtheprobationofficertovisityouatanytimeatyourhomeorelsewhere andyoumust permittheprobation
   takeanyitemsprohibitedbytheconditionsofyoursupervisionthatheorsheobservesinplainview.
7. Youmustwork full time (at least30hoursperweek) ata lawfultype ofemployment, unlesstheprobation officerexcusesyoufrom
   doing so. Ifyou do not have full-time empioyment you must try to find full-time employment, unless the probation officer excuses
   you from doing so. Ifyou plan to change where you work or anything about your work (such asyour position oryourjob
   responsibilities), you must notify the probation officer atleast 10days before the change. Ifnotifying the probation officer atleast 10
   days in advance is not possible dueto unanticipated circumstances, you must notify the probation ofiBcer within 72hours of
     becoming aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. Ifyou know someone
     convicted ofa felony, youmustnotknowingly communicate orinteract withthatpersonwithout firstgettingthepennission ofthe
     probationofficer.
9. ifyouarearrestedorquestioned by a lawenforcement officer, you mustnotify theprobation officerwithin72hours.
10. Youmust notown, possess, orhaveaccessto a firearm, ammunition, destmctive device, ordangerous weapon(i.e., anythingthatwas
    designed, orwasmodified for, the specific purpose ofcausing bodily injury ordeath to mother person such asnunchakus ortasers)
11. Youmust notactormakeanyagreement witha lawenforcement agencyto actasa confidential humansourceorinformant without
     first gettingthe pennissionofthe court.
12. Ifthe probation officer detennines thatyou pose a risk to another person (including anorganization), the probation officer may
    require you to notify the person about the risk andyou must comply withthat instruction. The probation officer may contact the
    person andconfirm thatyou have notified theperson aboutthe risk.
13. Youmustfollowtheinstructionsoftheprobationofficerrelatedto theconditionsofsupervision.



U.S. Probation Office Use Only
 A U. S.probation officer hasinstmcted me onthe conditions specified by the court andhasprovided me with a written copy ofthis
judgment containing these conditions. Forfurther information regarding these conditions, see Overview ofProbation andSupervised
Release Conditions, available at: www. uscourts. ov


Defendant's Signature                                                                                   Date
             Case: 1:22-cr-00028-MRB Doc #: 50 Filed: 02/07/25 Page: 5 of 7 PAGEID #: 284


AO245B(Rev. 09/19) Judgmentin a CriminalCase
                    Sheet3B - SupervisedRelease
                                                                                             Judgment-Page   of
DEFENDANT:          Diamond Bezada
CASENUMBER: 1:22cr00028(2)

                                  ADDITIONALSUPERVISEDRELEASETERMS

 1.) Bezada must provide the probation officerwith access to any requested financial
 information and authorizethe release of anyfinancial information. The probation office
 maysharefinancialinformationwiththe U.S.Attorney's Office.
 2. ) Bezada must not incur new credit charges, or open additional lines of credit without the
 approval of the probation officer..
               Case: 1:22-cr-00028-MRB Doc #: 50 Filed: 02/07/25 Page: 6 of 7 PAGEID #: 285
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment-"age             of
 DEFENDANT: Diamond Bezada
 CASENUMBER: 1:22cr00028(2)
                                               CRIMINAL MONETARY PENALTIES

      ThedefendantmustpaythetotalcriminalmonetarypenaltiesunderthescheduleofpaymentsonSheet6.

                      Assessment             Restitution               Fine               AVAA Assessment* JVTA Assessment**
 TOTALS            S 100. 00                $ 108, 915. 72                                $          $


 D The determination of restitution is deferred until                         An Amended Judgment in a Criminal Case(AO245C) will be
      entered after such determination.

 D Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
      Ifthedefendantmakesa partialpayment, eachpayeeshallreceiveanapproximatelyproportionedjpayment,_unkssspec^fied^
           n"onty'oTder"orl
      the priority          percCTtage payment'cokimrn~t)elow~'H6wever7pursuart^^^^^
                   orderor percentage                                                § 3664Ci), 'all nonfederal victims must be paid
      before the'United States is paid.

 Name of Pa ec                                                Total Loss***               Restitution Ordered      Priori   orPercenta e
  Fifth Third Bank                                                      $108, 915. 72             $108, 915. 72

  Fraud Restitution Holdover

  P.O. Box638234
  Cincinnati, Ohio 45263-8234




 TOTALS                                                 108,915.72                          108,915.72


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution anda fine ofmore than $2, 500, unless the restitution orfine ispaid in full before the
       fifteenth day afterthe date ofthejudgment, pursuant to 18U. S.C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18U. S.C. § 3612(g).

 D     Thecourtdeterminedthatthedefendantdoesnothavetheabilityto payinterestandit isorderedthat:
       0 the interest requirement is waived for the           D fine     Q restitution.
       D the interest requirement for the          D fine      D restitution is modified asfollows:

 * Amy, Vicky, andAndy^hild PornographyVictim Assistance Art of2018,S,Pub. L. No. 115-299.
 ^^!n£rf^S4T^
 or afterSeptember13, 1994,butbeforeApril 23, 1996.
                 Case: 1:22-cr-00028-MRB Doc #: 50 Filed: 02/07/25 Page: 7 of 7 PAGEID #: 286
AO 245B (Rev. 09/19)   Judgmentin a Criminal Case
                       Sheet 6 - Schedule of Payments
                                                                                                                Judgment-Page           of

DEFENDANT:             Diamond Bezada
 CASENUMBER: 1:22cr00028(2)

                                                         SCHEDULE OF PAYMENTS

Having assessedthedefendant's ability to pay,paymentofthetotal criminal monetary penalties isdueasfollows:
A       D Lump sum payment of$             109015. 72              due immediately, balance due

             Q     not later than                               ,       or
             D     in accordancewith DC,                D D,      D E, or        D F below;or
 B      E Paymentto beginimmediately (may becombinedwith                       DC,        D D,or       D F below); or
 C      D Payment in equal                   (e. g.,weekly, monthly, quarterly) installments of $          over a period of
                       (e.g.,monthsoryears),to commence                       (e.g., 30or60days)afterthedateofthisjudgment;or
 D      D Paymentinequal                                (e.g.,weekly,monthly,quarterly) installments of $              overa periodof
                            (e.g.,monthsoryears),to commence                          (e.g., 30or60days)afterreleasefromimprisonmentto a
             term of supervision; or

 E      D Payment during theterm ofsupervised release will commence within                (e. g., 30or 60days) afterrelease from
          imprisonment. The court will setthepayment plan based on anassessment ofthe defendant's ability to pay atthattime; or
 F      D Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:




                                         /ise,ifthisjudgmentimposesimprisonment,paymentofcriminalmonetarypena]t s isdueduring
 riie"penod_of~impnsonmmt'' Allcriminal monetary penalties exceptthose'payments niadethrough the
 FinancialResponsibilityProgram,aremadetothe clerkofthe court.
 Thedefendantshallreceivecreditforallpaymentspreviouslymadetowardanycriminalmonetarypenaltiesimposed.


 [3     Joint and Several

        Case Number
        Defendant and Co-DefendantNames                                                     Joint and Several              CorrespondingPayee,
        (includingdefendantnumber)                            Total Amount                      Amount                          if appropriate

        DeonNoel(1:22cr00028-1)                                                          108,915.72
        Patrick Burrows (1:22cr00028-3)

 D      The defendantshall paythe costofprosecution.

 D      The defendant shall pay the following court cost(s):

 D      Thedefendantshall forfeitthedefendant'sinterestin the followingpropertytotheUnitedStates:



 Payments shall be applied in the following order: (1) assessment,      ^restitution princigal, (3^restitution interest, (4)AyA A assesjment,
      'fine'princTpai,~(^)rfine interest, (7) communityrestitution, (8) TVTAassessment,(9) penalties,and(10) costs, includii
 prosecution arid court costs.
